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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO
                        The Honorable Michael E. Romero


    In re:
                                              Case No. 14-22739 MER
    LIISA BETH WILSON,
                                              Chapter 13
        Debtor.

         ORDER FOR COMPLIANCE WITH SERVICEMEMBERS CIVIL RELIEF
            ACT OF 2003 (“SCRA”), 50 APP.U.S.C. §501 ET SEQ., AND
                         LOCAL BANKRUPTCY RULES

   THIS MATTER comes before the Court on the Motion for Relief from the
Automatic Stay filed by Condominium Association of Whispering Pines of Denver.1
The Court finds that Movant has failed to comply with the following:

         [x]    Local Bankruptcy Rule 4001-1(a)(3) states “[t]he notice of
         hearing must provide that any objection and request for hearing must
         be filed by a specific date that is at least seven days prior to the
         hearing[.]” The notice of hearing filed with the motion selected a
         hearing date of January 29, 2019, and set an objection deadline of
         January 24, 2019. The movant’s chosen objection deadline is less than
         seven days prior to the hearing. The proper objection deadline for a
         hearing to be held on January 29, 2019, should have been January 22,
         2019.

         [x]    Servicemembers Civil Relief Act of 2003 (“SCRA”), 50 App.U.S.C.
         §501 et seq., and Local Bankruptcy Rules 4001-(a)(4) 4002-3 require
         an affidavit that states whether or not the debtor or co-debtor is in the
         military service, and indicates the necessary facts to support said
         affidavit.2 In this case, no such affidavit has been filed.

       Accordingly, IT IS HEREBY ORDERED that Movant must cure the above-noted
deficiencies by the cure date listed below, failing which the Motion will be denied
without further Order.

Deficiency Cure Date:       January 14, 2019

DATED January 7, 2019                     BY THE COURT:

                                             __________________________
                                                Michael E. Romero, Chief Judge
                                                United States Bankruptcy Court

1
 ECF No. 95.
2
 The Defense Manpower Data Center (DMDC) has developed a web site to assist parties in
obtaining written documentation verifying whether a defendant is in the military service.
